 Case 3:16-cv-00292-M Document 111 Filed 12/20/17   Page 1 of 16 PageID 1283


                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

UNITED STATES OF AMERICA                §
ex rel. EDWARD HENDRICKSON,             §
                                        §
       Plaintiffs-Relator,              §
                                        §
v.                                      §
                                        §
BANK OF AMERICA, N.A., WELLS            §
FARGO BANK, N.A., CITIBANK, N.A.,       §
COMERICA BANK, WELLS FARGO              §
BANK, N.A., as successor in interest to §
                                              CIVIL ACTION NO.
WACHOVIA BANK, N.A., JPMORGAN           §
                                              3:16-CV-292-M
CHASE BANK, NATIONAL                    §
ASSOCIATION, COMPASS BANK,              §
MANUFACTURERS & TRADERS TRUST §
COMPANY, SEACOAST NATIONAL              §
BANK, FIFTH THIRD BANK, PNC BANK, §
N.A., THE NORTHERN TRUST                §
COMPANY, FROST BANK, THE                §
AMERICAN NATIONAL BANK OF               §
TEXAS, CENTRUE BANK, and                §
AMARILLO NATIONAL BANK,                 §
                                        §
       Defendants.                      §


  REPLY BRIEF IN SUPPORT OF MOTION TO DISMISS ALL CLAIMS AGAINST
      COMPASS BANK AS BARRED BY THE STATUTE OF LIMITATIONS
     AND PARTIAL MOTION TO DISMISS CLAIMS AGAINST THE OTHER
      DEFENDANT BANKS BASED ON THE STATUTE OF LIMITATIONS
     Case 3:16-cv-00292-M Document 111 Filed 12/20/17                                          Page 2 of 16 PageID 1284


                                                  TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................................... ii

ARGUMENT ...................................................................................................................................1

I.        The facts pled show that Relator’s claims against Compass Bank are time barred. ............1

II.       Relator cannot rely on allegations against other banks to save his untimely claims
          against Compass Bank and his other arguments also fail. ...................................................3

III.      The Court should grant the other Banks’ Partial Motion to Dismiss. ..................................6

CERTIFICATE OF SERVICE ......................................................................................................12




                                                                     i
  Case 3:16-cv-00292-M Document 111 Filed 12/20/17                                            Page 3 of 16 PageID 1285


                                               TABLE OF AUTHORITIES

Cases
Anderson v. Gen. Motors, LLC,
  No. 4:17-CV-672-A, 2017 WL 5891804 (N.D. Tex. Nov. 28, 2017) ........................................ 2
Ashcroft v. Iqbal,
  556 U.S. 662 (2009) ................................................................................................................... 1
Bell Atl. Corp. v. Twombly,
  550 U.S. 544 (2007) ................................................................................................................... 1
Cevallos v. Silva,
  541 F. App’x 390 (5th Cir. 2013) ............................................................................................... 2
Doe v. United States Dep’t of Justice,
  753 F.2d 1092 (W.D. Pa. 1992) .................................................................................................. 3
Federal Trade Comm’n v. Nat’l Business Consultants, Inc.,
  376 F.3d 317 (5th Cir. 2004) ...................................................................................................... 3
Firestone v. Firestone,
  76 F.3d 1205 (D.D.C. 2003) ....................................................................................................... 3
Frame v. City of Arlington,
  657 F.3d 215 (5th Cir. 2011) ...................................................................................................... 3
Griffin v. HSBC Mortg. Servs., Inc.,
  No. 4:14-CV-00132-DMB, 2015 WL 4041657 (N.D. Miss. July 1, 2015) ............................... 5
In re: Enron Corp. Securities Derivative & ERISA Litig.,
   761 F. Supp. 2d 504 (S.D. Tex. 2011) ........................................................................................ 2
Kellogg Brown & Root Servs., Inc. v. United States,
  135 S. Ct. 1970 (2015)................................................................................................................ 3
Sahlein v. Red Oak Capital, Inc.,
  No. 3:13-CV-00067-DMB-JM, 2014 WL 3046477 (N.D. Miss. July 3, 2014) ......................... 6
Streambend Props. II, LLC v. Ivy Tower Minneapolis, LLC,
   781 F.3d 1003 (8th Cir. 2015) .................................................................................................... 6
United States (Wall) v. Vista Hospice Care, Inc.,
  778 F.Supp.2d 709 (N.D. Tex.2011) ...................................................................................... 3, 4
United States ex rel. Grubbs v. Kanneganti,
  565 F.3d 180 (5th Cir. 2009) .............................................................................................. 3, 4, 5
United States ex rel. Ramsey-Ledesma v. Censeo Health, L.L.C.
  No. 3:14-CV-00118-M, 2016 WL 5661644 (N.D. Tex. Sept. 30, 2016) ................................... 6

                                                                    ii
  Case 3:16-cv-00292-M Document 111 Filed 12/20/17                                                  Page 4 of 16 PageID 1286


United States v. BNP Paribas SA, et al.,
  884 F.Supp. 2d 589 (S.D. Tex. 2012) ......................................................................................... 2
Statutes
31 U.S.C. § 3731 ............................................................................................................................. 2
Rules
Rule 9(b) ..................................................................................................................................... 4, 6




                                                                        iii
 Case 3:16-cv-00292-M Document 111 Filed 12/20/17                 Page 5 of 16 PageID 1287


       Compass Bank’s argument is simple. All of the facts alleged against Compass Bank in

the Amended Complaint are outside the applicable six year statute of limitations. Under

Twombly and Iqbal (and Federal Rule of Civil Procedure 9(b)) a plaintiff must plead facts

showing an entitlement to relief. And when those pled facts are for misconduct occurring outside

the limitations period, the complaint should be dismissed as barred by the statute of limitations.

Relator responds with misdirection, largely ignoring Compass Bank’s six-year statute-of-

limitations argument. But the facts alleged show that his claims against Compass Bank are time

barred. Because Relator has not requested leave to amend, this Court should grant the Motion to

Dismiss with prejudice and enter a final judgment in favor of Compass Bank. Finally, for the

reasons stated below, the Court should also grant the other Defendant banks’ partial motion.

                                          ARGUMENT

I.     The facts pled show that Relator’s claims against Compass Bank are time barred.

       The parties agree that claims based on conduct occurring on, or before, February 1, 2010

are time barred. (Doc. 105 at 6.) According to the facts alleged in the Amended Complaint, the

last alleged improper payment to a Compass Bank customer occurred in November 2009—

months before the start of the limitations period.

       Attempting to save his time-barred claims, Relator relies on pure speculation. He asserts

that “if Compass Bank received a Notice of Reclamation” and “if” Compass Bank “falsely

certified” a date of death, then “this false certification may well have occurred during the six-

year statute of limitations.” (Doc. 105 at 6 (emphasis added).) These suggestions about what

might have happened are not facts but guesswork that cannot satisfy the Rule 8 standard. See

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (“Factual allegations must be enough to

raise a right to relief above the speculative level.”); Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(“The plausibility standard is not akin to a ‘probability requirement,’ but it asks for more than a

                                                 1
 Case 3:16-cv-00292-M Document 111 Filed 12/20/17                    Page 6 of 16 PageID 1288


sheer possibility that a defendant has acted unlawfully.”); Anderson v. Gen. Motors, LLC, No.

4:17-CV-672-A, 2017 WL 5891804, at *4 (N.D. Tex. Nov. 28, 2017) (dismissing claims because

“none of [the plaintiff’s] allegations rise above the level of pure speculation”).

       Equally important, the Amended Complaint does not allege facts even suggesting

Compass Bank received such a Notice of Reclamation (or when), much less that Compass Bank

made a false certification in response or otherwise failed to return monies after February 1, 2010.

Thus, Relator’s argument is not only speculation, but speculation that is not even pled. It is well

established that Relator cannot add allegations in his Response Brief to cure inadequacies of his

Amended Complaint. See Cevallos v. Silva, 541 F. App’x 390, 393 (5th Cir. 2013) (complaint

properly dismissed because factual allegations only appeared in response to the motion to

dismiss rather than complaint itself); In re: Enron Corp. Securities Derivative & ERISA Litig.,

761 F. Supp. 2d 504, 566 (S.D. Tex. 2011) (“[I]t is axiomatic that a complaint cannot be

amended by briefs in opposition to a motion to dismiss.”) (internal quotations omitted).

       Relator next argues that the Amended Complaint “present[s] contested questions of fact

[as to the statute of limitation].” (Doc. 105 at 6.) But he never identifies—nor could he—which

supposed facts are contested (as to Compass Bank and the statute of limitations), why they are

contested, or how their resolution would alter the result in this action. Relator’s only FCA case

on this point is plainly distinguishable because it was decided under the provision for

government claims—which includes a three-year tolling/discovery provision that Relator admits

does not apply here. Compare 31 U.S.C. § 3731(b)(2) with 31 U.S.C. § 3731(b)(1); see Doc.

105 at 1; see United States v. BNP Paribas SA, et al., 884 F.Supp. 2d 589, 598 (S.D. Tex. 2012)

(refusing to dismiss claims by government based upon statute of limitations “because whether

they are subject to the FCA’s three-year tolling provision is a question of fact”) (emphasis



                                                  2
    Case 3:16-cv-00292-M Document 111 Filed 12/20/17                             Page 7 of 16 PageID 1289


added), partially overruled by Kellogg Brown & Root Servs., Inc. v. United States, 135 S. Ct.

1970 (2015). Indeed, each of Relator’s cases involved a factual dispute over discovery or tolling,

again something Relator does not (and could not) argue applies.1

II.      Relator cannot rely on allegations against other banks to save his untimely claims
         against Compass Bank and his other arguments also fail.

         Relator argues that the Grubbs case allows him to avoid pleading facts about Compass

Bank within the statute of limitations, claiming (1) that the single time-barred example alleged

for Compass Bank and (2) facts about the alleged misconduct of other banks, are sufficient to

suggest the alleged wrongdoing of Compass Bank occurred during the statute of limitations.

United States ex rel. Grubbs v. Kanneganti, 565 F.3d 180 (5th Cir. 2009). First, he argues that

his “examples indicate a pattern of wrongdoing and support [his] overarching allegation.”

(Doc. 105 at 11) (emphasis added). This is not how Iqbal, Rule 9(b), or the statute of limitations

works. It is insufficient to merely plead a single “slightly older” “specific example of

wrongdoing” and then speculate that it continued into the limitations period. (Doc. 105 at 12). As

a matter of pleading, Relator’s assertion is also untrue. There is no “pattern” or “scheme” pled

against Compass Bank—there is only a single time-barred example. A “pattern” or “scheme,”

on the other hand, involves conduct which continues over time, with a plan, with a methodology,

and with identifiable persons.2 Relator pleads none of this against any of the Defendants—and he


1
  In fact, at least one of the cases cited by the Relator actually dismissed claims at the pleading stage based upon the
statute of limitations. Doe v. United States Dep’t of Justice, 753 F.2d 1092, 1116 (W.D. Pa. 1992) (“we find … to be
time-barred”). The other cases cited by Relator were not FCA cases and were decided on disputes over when the
misconduct could have been discovered. See, e.g., Frame v. City of Arlington, 657 F.3d 215, 240 (5th Cir. 2011)
(ADA case; “issues of material fact as to when the plaintiffs knew or should have known . . . ”); Federal Trade
Comm’n v. Nat’l Business Consultants, Inc., 376 F.3d 317, 322 (5th Cir. 2004) (issue regarding when FTC
“discovered” or “could have reasonably” discovered transfer); In matter of Hinsley, 201 F.3d 638, 645 (5th Cir.
2003) (rejecting statute of limitations because applicable law “tolls”); Firestone v. Firestone, 76 F.3d 1205, 1209
(D.D.C. 2003) (finding allegations sufficiently pled for tolling to “prevent discovery”) (emphases added).
2
 Relator cites this Court’s decision in United States (Wall) v. Vista Hospice Care, Inc., 778 F.Supp.2d 709 (N.D.
Tex.2011) for this interpretation of Grubbs. In fact, Vista Hospice holds that conclusory allegations do not satisfy
Grubbs and that facts are necessary. This is especially true here because Relator does not even use Compass Bank’s

                                                           3
    Case 3:16-cv-00292-M Document 111 Filed 12/20/17                            Page 8 of 16 PageID 1290


certainly pleads none of this against Compass Bank during the limitations period. Because

Relator alleged only a single time-barred against Compass Bank example, and not a “pattern” or

“scheme,” Relator cannot satisfy the first Grubbs prong.3

         Relator’s allegations also fail the second Grubbs prong. One time-barred example does

not lead “to a strong inference that [false] claims were actually submitted.” Instead of a “strong

inference”, Relator’s inability to plead any facts against Compass Bank during the statutory

period leads to the opposite inference—that is, he cannot find a single factual example against

Compass Bank that is not time-barred despite his “extensive first-hand knowledge” of the

alleged misconduct. (Doc. 102 at 34 (emphasis added).)

         Relator is also wrong that Grubbs even applies here. He argues Grubbs applies because

“only the Banks know when they received the [Social Security Administration’s] [Death

Notification Entries]” through the ACH system, thus information is not “in the possession of, and

presumably available from, other sources.” (Doc. 105 at 15 (emphasis added).) But the Amended

Complaint and the Green Book state just the opposite: “A DNE is an ACH network application

that only ‘an agency of the Federal Government may originate.’ Green Book at 4-2.” (Doc.

18 at ¶ 32 (emphasis added) (noting that the DNE is an “electronic notification”). Accordingly,


name in the remainder of the Amended Complaint, much less provide any facts or instances of wrongdoing other
than a single, time-barred example. Vista Hospice, 778 F. Supp. 2d at 717 (“Defendants are entitled to a pleading
which specifies the manner in which ‘VistaCare’ allegedly instructed its employees to falsify certifications for
specific individual patients, that those employees did so with the requisite intent, that named individuals acting for
VistaCare asked other named individuals to forge doctors’ names for specific individuals, and that they did so.
Otherwise, Defendants would not be able to defend against Wall’s generalized complaints. Further, except as to the
Medicare and Medicaid enrollment percentages, the allegations stated upon information and belief are insufficient,
and Wall must provide a factual basis for her beliefs.”) (emphasis added).
3
  Relator’s effort to treat the “Defendant Banks” as a single, monolithic defendant is inappropriate in this case
because there is no dispute that each bank is a separate corporate entity. (Doc. 18, ¶ 10.) There is no allegation that
Compass Bank (or any Defendant) was working in concert with any other Defendant or that any or all of the
Defendants engaged in a conspiracy. Given that this is a fraud case to which Rule 9(b) applies, Relator’s failure to
plead each Defendant’s misconduct with particularity is fatal to his attempt to lump all sixteen banks together as a
single Defendant. Further, as discussed in footnote 4 infra, the Defendants are improperly joined in this case. In
truth, each operates under differing policies, with different employees, in different regions, and in different time-
frames.

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    Case 3:16-cv-00292-M Document 111 Filed 12/20/17                           Page 9 of 16 PageID 1291


the “Federal Government” certainly knows when the banks allegedly learned of a beneficiary’s

death because the federal government sent each DNE. At the very least, Relator cannot say that

such information is unavailable from sources other than the Defendants. Relator also argues

Compass Bank “ignores the great bulk of Relator’s Amended Complaint.” (Doc. 105 at 10.) But,

the “bulk” of his allegations are mere assumptions, and legal conclusions asserted against the

monolithic “Defendant Banks.” These conclusory allegations are untethered to any specific

action(s) by Compass Bank at any particular time, by any particular person, in any particular

method, for any particular transaction (and certainly not within the statute of limitations).

        Notably, Relator does not cite a single case holding that Grubbs can be satisfied by

pleading alleged facts against other defendants. In truth, the Amended Complaint is a shotgun

pleading. Relator disputes this label, arguing that it is proper to lump all Defendants together in

conclusory allegations—even in a fraud case—and even in a case where there is no allegation

that the Defendants worked together or were in conspiracy.4 (Doc. 105 at 8.) This directly

contradicts even the most limited possible reading of Iqbal, Rule 9(b) and Grubbs. Indeed, a

complaint is a shotgun pleading when it lodges allegations against multiple defendants with no

effort to distinguish between them or their role in the alleged misconduct. See Griffin v. HSBC

Mortg. Servs., Inc., No. 4:14-CV-00132-DMB, 2015 WL 4041657, at *5 (N.D. Miss. July 1,

2015) (“Quintessential shotgun pleadings also fail to distinguish between the actions of named

defendants.”) (internal alterations omitted). In Griffin, the complaint failed to distinguish

“between the conduct of the individual HSBC corporate entities.” Id. at *5. Relator makes no

attempt to distinguish Griffin. Similarly, Relators make no effort to distinguish United States ex

rel. Ramsey-Ledesma v. Censeo Health, L.L.C., in which this Court held that “[a]llegations that
4
  While Relator asserts that there are common questions of law or fact sufficient to join the “Defendants Banks” in a
single lawsuit under Rule 20 (Doc. 105 at 5 n.2), he ignores the “same transaction or occurrence” requirement and
makes no argument on this point. Thus, he implicitly concedes that joinder was improper here.

                                                         5
    Case 3:16-cv-00292-M Document 111 Filed 12/20/17                          Page 10 of 16 PageID 1292


lump all defendants together and fail to segregate the alleged wrongdoing of one from those of

another do not satisfy Rule 9(b).” See No. 3:14-CV-00118-M, 2016 WL 5661644, at *9 (N.D.

Tex. Sept. 30, 2016) (Lynn, C.J.).5 Further, Relator’s attempt to distinguish Sahlein v. Red Oak

Capital, Inc., No. 3:13-CV-00067-DMB-JM, 2014 WL 3046477, at *2 (N.D. Miss. July 3, 2014)

falls flat. In Sahlein, the trial court dismissed the complaint because it “lump[ed] together broad

allegations against all thirteen defendants as a whole” and “fail[ed] to properly

distinguish . . . the alleged wrongs committed by each individual defendant.” Id. at *3. The same

is true here. Relator’s complaint lumps all the Defendant Banks together even though none are

alleged to have worked together. His shotgun pleading cannot save his time barred allegations.

         Finally, Relator spends a significant portion of his response brief attacking straw-man

arguments. For example, he opens with the argument that the statute of limitations is not 120

days. While Defendants noted the 120 day limitations period serves as an independent basis for

dismissing the Amended Complaint, they also were clear that their limitations brief was directed

toward the six-year statute of limitations. (Doc. 96 at 4.)

III.     The Court should grant the other Banks’ Partial Motion to Dismiss.

         Relator concedes the six-year statute applies and does not dispute that many of his

specific examples of alleged misconduct occurred prior to February 2, 2010. (Doc. 105 at 5-7.)

His arguments that the timeliness of his examples is irrelevant and that Government intervention

could extend the statute of limitations lack merit. He cannot rely on untimely allegations of

isolated incidents to establish a timely scheme of ongoing misconduct, nor can he rely on a

statute of limitations that does not apply to him. Thus, this Court should grant complete dismissal

of all activity alleged to have occurred on or before February 1, 2010, as described in Exhibit B.
5
  Relator is also silent as to Streambend Props. II, LLC v. Ivy Tower Minneapolis, LLC, which affirmed a
complaint’s dismissal when it “attributed fraudulent representations and conduct to multiple defendants generally, in
a group pleading fashion.” See 781 F.3d 1003, 1013 (8th Cir. 2015).

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Case 3:16-cv-00292-M Document 111 Filed 12/20/17            Page 11 of 16 PageID 1293


     Respectfully submitted this the 20th day of December, 2017.




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                                            7
Case 3:16-cv-00292-M Document 111 Filed 12/20/17     Page 12 of 16 PageID 1294


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                                     8
Case 3:16-cv-00292-M Document 111 Filed 12/20/17   Page 13 of 16 PageID 1295




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                                    9
Case 3:16-cv-00292-M Document 111 Filed 12/20/17     Page 14 of 16 PageID 1296


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                                    10
Case 3:16-cv-00292-M Document 111 Filed 12/20/17     Page 15 of 16 PageID 1297


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                                    11
Case 3:16-cv-00292-M Document 111 Filed 12/20/17               Page 16 of 16 PageID 1298




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       I certify that I served a copy of the foregoing on all counsel of record via the Court’s

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                                              12
